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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7     UNITED STATES OF AMERICA,                                Case No. 2:14-cr-00249-APG-PAL
 8                                          Plaintiff,                       ORDER
              v.
 9                                                                     (Motions for Joinder)
       WEI SENG PHUA, et al.,                                (Dkt. ##233, 235, 236, 237, 238, 239, 240)
10
                                         Defendants.
11

12            Before the court are various Motions for Joinder (Dkt. ##233, 235, 236, 237, 238, 239,
13     240). The court has reviewed the motions and finds that they should be granted. Accordingly,
14            IT IS ORDERED that the Motions for Joinder (Dkt. ##233, 235, 236, 237, 238, 239,
15     240) are GRANTED.
16            DATED this 10th day of November, 2014.
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                                                             PEGGY A. LEEN
19                                                           UNITED STATES MAGISTRATE JUDGE
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